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               United States Court of Appeals
                               For the First Circuit
 No. 14-1118
         JACQUELINE BRENNER, on behalf of herself and all others similarly situated

                                    Plaintiff - Appellant

                                             v.

                               J.C. PENNEY COMPANY, INC.

                                   Defendant - Appellee


                                       MANDATE

                                  Entered: April 16, 2014

        In accordance with the judgment of April 16, 2014, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                           By the Court:

                                           /s/ Margaret Carter, Clerk


 cc:
 Eric M. Apjohn
 Douglas Gregory Blankinship
 Christopher Bates Parkerson
